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 6                       IN THE UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF ARIZONA
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 9
     United States of America,                 No. CR-20-00634-PHX-DWL
10
                  Plaintiff,                             ORDER
11
           vs.
12                                                    (First Request)
     Jill Marie Jones,
13
                  Defendant.
14
15         Upon motion of Defendant with no objection from the Government, and
16   good cause appearing,
17         IT IS ORDERED granting Defendant’s Motion to Continue Time to File
18   Objections to Presentence Report    (Doc. ____), for the reasons stated in
19   Defendant’s motion.
20         IT IS FURTHER ORDERED continuing the time to file objections from
21
     May 19, 2023, to _________________, 2023.
22
           DATED this _____ day of _____, 2023.
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